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JS44 (Rev. 10/2020 NDGA)                        CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
         Schuyler Knight
                                                                                                 JAY E. JOHNSON; MARK LEGARDA; MARTIN RUSSO;
                                                                                                 MATTHEW EAST; DOUG BONDAR; MARK BARNES;
                                                                                                 NANCY LIVINGSTON; KENDALL PATIENT RECOVERY
                                                                                                 U.S., LLC; CARDINAL HEALTH, INC. JOHN DOE NOS.
                                                                                                 1-10,


   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF                   Unknon                                                    DEFENDANT        Columbia
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                 INVOLVED

  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                       ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)

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         Atlanta, GA 30327 ; 404-961-7655                                                       Atlanta, GA 30309; 404-256-8425

II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                        (FOR DIVERSITY CASES ONLY)

                                                                              PLF      DEF                                 PLF      DEF

   1 U.S. GOVERNMENT             3 FEDERAL QUESTION                              1       1 CITIZEN OF THIS STATE               4        4   INCORPORATED OR PRINCIPAL
     PLAINTIFF                     (U.S. GOVERNMENT NOT A PARTY)                                                                            PLACE OF BUSINESS IN THIS STATE
                              ✔ 4 DIVERSITY                                  ✔                                                      ✔
   2 U.S. GOVERNMENT                                                             2       2   CITIZEN OF ANOTHER STATE          5        5   INCORPORATED AND PRINCIPAL
     DEFENDANT                    (INDICATE CITIZENSHIP OF PARTIES                                                                          PLACE OF BUSINESS IN ANOTHER STATE
                                   IN ITEM III)
                                                                                 3       3   CITIZEN OR SUBJECT OF A          6         6   FOREIGN NATION
                                                                                             FOREIGN COUNTRY


IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                        TRANSFERRED FROM              MULTIDISTRICT         APPEAL TO DISTRICT JUDGE
        1 ORIGINAL      ✔ 2 REMOVED FROM            3 REMANDED FROM            4 REINSTATED OR        5 ANOTHER DISTRICT            6 LITIGATION -        7 FROM MAGISTRATE JUDGE
          PROCEEDING        STATE COURT              APPELLATE COURT            REOPENED                  (Specify District)          TRANSFER              JUDGMENT


        MULTIDISTRICT
      8 LITIGATION -
        DIRECT FILE


V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS DIVERSITY)

     Products Liability




(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                        6. Problems locating or preserving evidence
        2. Unusually large number of claims or defenses.                             7. Pending parallel investigations or actions by government.
    ✔ 3. Factual issues are exceptionally complex                                ✔   8. Multiple use of experts.
    ✔ 4. Greater than normal volume of evidence.                                     9. Need for discovery outside United States boundaries.
    ✔                                                                            ✔ 10. Existence of highly technical issues and proof.
        5. Extended discovery period is needed.


                                                                        CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                           AMOUNT $                                         APPLYING IFP                        MAG. JUDGE (IFP) ______________________

JUDGE                               MAG. JUDGE                                       NATURE OF SUIT                       CAUSE OF ACTION______________________
                                                      (Referral)
            Case 1:23-mi-99999-UNA Document 1143-7 Filed 04/11/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK              CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK             SOCIAL SECURITY - "0" MONTHS DISCOVERY
         150 RECOVERY OF OVERPAYMENT &                   440 OTHER CIVIL RIGHTS                          TRACK
              ENFORCEMENT OF JUDGMENT                    441 VOTING                                            861 HIA (1395ff)
         152 RECOVERY OF DEFAULTED STUDENT               442 EMPLOYMENT                                        862 BLACK LUNG (923)
             LOANS (Excl. Veterans)                      443 HOUSING/ ACCOMMODATIONS                           863 DIWC (405(g))
         153 RECOVERY OF OVERPAYMENT OF                  445 AMERICANS with DISABILITIES - Employment          863 DIWW (405(g))
             VETERAN'S BENEFITS                          446 AMERICANS with DISABILITIES - Other               864 SSID TITLE XVI
                                                         448 EDUCATION                                         865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK
         110 INSURANCE                                                                                   FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
         120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK              TRACK
         130 MILLER ACT                                  462 NATURALIZATION APPLICATION                        870 TAXES (U.S. Plaintiff or Defendant)
         140 NEGOTIABLE INSTRUMENT                       465 OTHER IMMIGRATION ACTIONS                         871 IRS - THIRD PARTY 26 USC 7609
         151 MEDICARE ACT
         160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY             OTHER STATUTES - "4" MONTHS DISCOVERY
         190 OTHER CONTRACT                        TRACK                                                 TRACK
         195 CONTRACT PRODUCT LIABILITY                  463 HABEAS CORPUS- Alien Detainee                     375 FALSE CLAIMS ACT
         196 FRANCHISE                                   510 MOTIONS TO VACATE SENTENCE                        376 Qui Tam 31 USC 3729(a)
                                                         530 HABEAS CORPUS                                     400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                     535 HABEAS CORPUS DEATH PENALTY                       430 BANKS AND BANKING
TRACK                                                    540 MANDAMUS & OTHER                                  450 COMMERCE/ICC RATES/ETC.
         210 LAND CONDEMNATION                           550 CIVIL RIGHTS - Filed Pro se                       460 DEPORTATION
         220 FORECLOSURE                                 555 PRISON CONDITION(S) - Filed Pro se                470 RACKETEER INFLUENCED AND CORRUPT
         230 RENT LEASE & EJECTMENT                      560 CIVIL DETAINEE: CONDITIONS OF                          ORGANIZATIONS
         240 TORTS TO LAND                                   CONFINEMENT                                       480 CONSUMER CREDIT
         245 TORT PRODUCT LIABILITY                                                                            485 TELEPHONE CONSUMER PROTECTION ACT
         290 ALL OTHER REAL PROPERTY               PRISONER PETITIONS - "4" MONTHS DISCOVERY                   490 CABLE/SATELLITE TV
                                                   TRACK                                                       890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY - "4" MONTHS                     550 CIVIL RIGHTS - Filed by Counsel                   891 AGRICULTURAL ACTS
DISCOVERY TRACK                                          555 PRISON CONDITION(S) - Filed by Counsel            893 ENVIRONMENTAL MATTERS
         310 AIRPLANE                                                                                          895 FREEDOM OF INFORMATION ACT 899
         315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY                   899 ADMINISTRATIVE PROCEDURES ACT /
         320 ASSAULT, LIBEL & SLANDER              TRACK                                                           REVIEW OR APPEAL OF AGENCY DECISION
         330 FEDERAL EMPLOYERS' LIABILITY                625 DRUG RELATED SEIZURE OF PROPERTY                  950 CONSTITUTIONALITY OF STATE STATUTES
         340 MARINE                                           21 USC 881
         345 MARINE PRODUCT LIABILITY                    690 OTHER
                                                                                                         OTHER STATUTES - "8" MONTHS DISCOVERY
         350 MOTOR VEHICLE
                                                                                                         TRACK
         355 MOTOR VEHICLE PRODUCT LIABILITY       LABOR - "4" MONTHS DISCOVERY TRACK
         360 OTHER PERSONAL INJURY                       710 FAIR LABOR STANDARDS ACT                          410 ANTITRUST
         362 PERSONAL INJURY - MEDICAL                   720 LABOR/MGMT. RELATIONS                             850 SECURITIES / COMMODITIES / EXCHANGE
             MALPRACTICE                                 740 RAILWAY LABOR ACT
     ✔   365 PERSONAL INJURY - PRODUCT LIABILITY         751 FAMILY and MEDICAL LEAVE ACT                OTHER STATUTES - “0" MONTHS DISCOVERY
         367 PERSONAL INJURY - HEALTH CARE/              790 OTHER LABOR LITIGATION                      TRACK
              PHARMACEUTICAL PRODUCT LIABILITY           791 EMPL. RET. INC. SECURITY ACT                      896 ARBITRATION
         368 ASBESTOS PERSONAL INJURY PRODUCT                                                                      (Confirm / Vacate / Order / Modify)
              LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                   TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                   820 COPYRIGHTS
DISCOVERY TRACK                                          840 TRADEMARK                                   * PLEASE NOTE DISCOVERY
                                                         880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)
         370 OTHER FRAUD
         371 TRUTH IN LENDING                                                                              TRACK FOR EACH CASE
         380 OTHER PERSONAL PROPERTY DAMAGE
         385 PROPERTY DAMAGE PRODUCT LIABILITY
                                                   PROPERTY RIGHTS - "8" MONTHS DISCOVERY                  TYPE. SEE LOCAL RULE 26.3
                                                   TRACK
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK                   830 PATENT
         422 APPEAL 28 USC 158                            835 PATENT-ABBREVIATED NEW DRUG
                                                              APPLICATIONS (ANDA) - a/k/a
         423 WITHDRAWAL 28 USC 157
                                                              Hatch-Waxman cases




VII. REQUESTED IN COMPLAINT:
         CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23          DEMAND $_____________________________
JURY DEMAND         ✔   YES      NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
         JUDGE_______________________________                                        21-cv-111 (S.D.Ga)
                                                                        DOCKET NO._______________________
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
         1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
         4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
            BANKRUPTCY JUDGE.
         5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
         6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):



     ✔   7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                       , WHICH WAS
            DISMISSED. This case ✔ IS   IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




 SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
